8:05-cr-00094-LSC-FG3        Doc # 239     Filed: 06/12/06    Page 1 of 1 - Page ID # 868




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                    8:05CR94
       vs.                                   )
                                             )                   ORDER
JUAN GARCIA,                                 )               CONTINUING TRIAL
JOSE ELIAS GARCIA, and                       )
LEONARDO VARGAS-GONZALEZ,                    )
                                             )
                     Defendants.             )


      This matter is before the court on the M OTION TO CONTINUE TRIAL filed by Juan
Garcia [237]. For good cause shown, trial will be continued to July 5, 2006.

       IT IS ORDERED that the motion to continue trial [237] is granted, as follows:

      1. Trial of this matter is continued from June 27, 2006 to July 11, 2006 before
Judge Laurie Smith Camp and a jury.

       2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between June 27, 2006 and July
11, 2006, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act due to defense counsel's scheduling conflicts, and
considering the diligence of counsel. Failure to grant a continuance would unreasonably
deny the defendant continuity of counsel, be likely to make a continuation of such
proceeding impossible, and./or result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).

      3. Counsel for the United States shall confer with defense counsel and, no later
than July 5, 2006, advise the court of the anticipated length of trial.

      4. This order applies to defendants Juan Garcia, Jose Elias Garcia, and Leonardo
Vargas-Gonzalez.

       DATED June 12, 2006, 2006.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
